

Matter of Syncere D. (Shaina D.) (2021 NY Slip Op 06471)





Matter of Syncere D. (Shaina D.)


2021 NY Slip Op 06471


Decided on November 19, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 19, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, LINDLEY, TROUTMAN, AND WINSLOW, JJ.


675 CAF 19-01795

[*1]IN THE MATTER OF SYNCERE D. ONONDAGA COUNTY DEPARTMENT OF CHILDREN AND FAMILY SERVICES, PETITIONER-RESPONDENT; SHAINA D., ALSO KNOWN AS SHAINA B., AND JOHN D., RESPONDENTS-APPELLANTS. (APPEAL NO. 1.) 






ANTHONY BELLETIER, SYRACUSE, FOR RESPONDENT-APPELLANT SHAINA D., ALSO KNOWN AS SHAINA B.
FRANK H. HISCOCK LEGAL AID SOCIETY, SYRACUSE (DANIELLE K. BLACKABY OF COUNSEL), FOR RESPONDENT-APPELLANT JOHN D.
ROBERT A. DURR, COUNTY ATTORNEY, SYRACUSE (YVETTE VELASCO OF COUNSEL), FOR PETITIONER-RESPONDENT.
SUSAN B. MARRIS, MANLIUS, ATTORNEY FOR THE CHILD.


	Appeals from an order of the Family Court, Onondaga County (Michele Pirro Bailey, J.), entered August 2, 2019 in a proceeding pursuant to Family Court Act article 10. The order, among other things, adjudged that respondents had neglected the subject child. 
It is hereby ORDERED that said appeals are unanimously dismissed without costs.
Same memorandum as in Matter of John D., Jr. (John D.) ([appeal No. 2] — AD3d — [Nov. 19, 2021] [4th Dept 2021]).
Entered: November 19, 2021
Ann Dillon Flynn
Clerk of the Court








